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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 9:20-CV-81205

  SECURITIES AND EXCHANGE COMMISSION,

                 Plaintiff,

  vs.

  COMPLETE BUSINESS SOLUTIONS GROUP,
     INC. d/b/a/ PAR FUNDING,
  LISA MCELHONE, et al.,

                 Defendants, and

  L.M.E. 2017 FAMILY TRUST,

              Relief Defendant.
  _________________________________________/

  DEFENDANT LISA MCELHONE’S AND RELIEF DEFENDANT L.M.E. 2017 FAMILY
   TRUST’S NOTICE OF JOINDER IN DEFENDANT DEAN VAGNOZZI’S BRIEF ON
    CURRENT SCOPE OF RECEIVERSHIP AND ASSET FREEZE ISSUES (D.E. 82)

         Defendant Lisa McElhone and Relief Defendant L.M.E. 2017 Family Trust, by and

  through undersigned counsel, file this Notice of Joinder in Defendant Dean Vagnozzi’s Brief on

  Current Scope of Receivership and Asset Freeze Issues (D.E. 82) as the same general factual,

  statutory, and legal arguments presented in said Brief apply to them.

                                                       Respectfully submitted,

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     ALAN S. FUTERFAS                                  By: s/Joel Hirschhorn
                                                          JOEL HIRSCHHORN
                                                          Florida Bar #104573

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on August 4, 2020, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to all counsel of record.

                                                     s/Joel Hirschhorn
                                                     JOEL HIRSCHHORN




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